      Dated: 4/16/2020




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:                                                 )
                                                       )        CHAPTER:           13
JETHRO AND JENNIFER THURSTON                           )        CASE NO.:          20-00625
5187 MURFREESBORO ROAD                                 )        JUDGE:             MASHBURN
LEBANON, TN 37090                                      )
SSN: XXX-XX-0803/8042                                  )
  Debtors.                                             )
                                                       )
                                                       )

                         ORDER GRANTING MOTION TO APPROVE
                ATTORNEY TO REPRESENT THE JOINT DEBTOR AND THE ESTATE

           THIS MATTER IS BEFORE THE COURT upon the Debtor’s Motion to Approve Attorney to

Represent the Joint Debtor and the Estate, with notice of proposed action having been given to all necessary

parties pursuant to Local Rule No. 9013-1. It appearing that no objection had been filed in writing within

twenty-one (21) days of the filing of the proposed action, the motion is well taken and shall be granted as

follows:

           1.     Attorney Christopher Boiano and the law firm of Boiano & Boiano is approved to

represent the Debtor and the Estate regarding the employment claims against CoreCiv.

           2.     Attorney Christopher Boiano and the law firm of Boiano & Boiano is entitled to receive

an attorney fee of thirty-three percent (33%) of any settlement received by the Joint Debtor, plus out-of-

pocket expenses forty percent (40%) in the event the matter is resolved by a trial, plus out-of-pocket

expenses.

           3.     The Debtor shall be entitled to her exemption pursuant to T.C.A. 26-2-103 in the amount

of $6,800.00, any funds over and above that amount, which shall be net to the Joint Debtor, shall go to the

Estate to be paid under the Plan.

           4.     Debtors’ Counsel will apply for fees in the amount of $200.00 pursuant to the Rights and



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Responsibilities entered between Counsel and the Debtors on January 30, 2020, for representation in this

matter.

IT IS SO ORDERED.

                                               THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY
                                               AS INDICATED AT THE TOP OF THE FRONT PAGE




APPROVED FOR ENTRY:


/s/ Scott D. Wilson
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                                                                         This Order has been electronically
                                                                         signed. The Judge's signature and
                                                                         Court's seal appear at the top of the
                                                                         first page.
                                                                         United States Bankruptcy Court.

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